     Case: 1:18-cv-04088 Document #: 39 Filed: 03/18/19 Page 1 of 1 PageID #:179

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Carolyn Miller
                                      Plaintiff,
v.                                                     Case No.: 1:18−cv−04088
                                                       Honorable Rebecca R. Pallmeyer
Southwest Credit Systems, L.P.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 18, 2019:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion hearing held
on 3/18/2019. Plaintiff's motion to certify class [34] is entered and continued for briefing.
Response to be filed by or on 4/18/2019; reply to be filed by or on 5/10/2019; ruling set
for 5/22/2019 at 9:30 AM. Status hearing set for 3/26/2019 is stricken and re−set to
5/22/2019 at 9:30 AM. Mailed notice. (etv, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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